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      ORDERED in the Southern District of Florida on March 4, 2019.




                                                  Laurel M. Isicoff
                                                  Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov



      In re:                                                       Case No. 19-12355-LMI

      MARTHA CANDELARIA                                                 Chapter 7



      ____________Debtor(s)________/


                   Order Granting Debtor’s Verified Ex Parte Motion for Referral to
                                 Mortgage Modification Mediation

               This matter came before the Court upon the Attorney-Represented Debtor’s

      Verified Ex Parte Motion for Referral to Mortgage Modification Mediation (“Ex Parte

      Motion”) filed on March 1, 2019 in accordance with this Court’s Mortgage Modification

      Mediation (“MMM”) program procedures and regarding Debtor’s real property located at

      3355 East 3rd Ave. Hialeah, FL 33013, and the mortgage on this property held by

      Seterus, Inc. (“Lender”).

               It is ORDERED as follows:

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       1.     The Ex Parte Motion is granted. The Lender may seek reconsideration of

              this Order by filing a written motion on or before 14 days after entry of the

              Order. If a timely motion for reconsideration is filed, the Court will promptly

              schedule a hearing in accordance with Local Rule 9073-1. In the event a

              motion for reconsideration is timely filed, all deadlines set forth in this Order

              shall be suspended pending resolution of the motion, but all other provisions

              shall remain in effect.

       2.     The Debtor and Lender are required to participate in Mortgage Modification

              Mediation (“MMM”) in good faith. MMM shall be concluded not later than

              150 days from the date of the Order, unless extended by written consent on

              the approved Mortgage Modification Mediation Portal (“MMM Portal”), by

              stipulation of the parties or by court order.

       3.     All communications and information exchanged during MMM are privileged

              and confidential as provided by Federal Rule of Evidence 408 and Chapter

              44 of the Florida Statutes, and shall be inadmissible in any subsequent

              proceeding.

       4.     All written communication between the parties regarding the mediation must

              be sent through the approved portal (“MMM Portal”) only, unless otherwise

              ordered by the Court. Any litigated matters incidental to the mediation shall

              be considered as separate matters and not subject to the portal

              communication requirement.

       5.     The Lender (and Lender’s counsel, if any) shall register with the MMM

              Portal, unless already registered, within seven days after entry of this Order,

              and designate its single point of contact and outside legal counsel, if any.

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              If the Lender fails to register, the Debtor may file a motion with the Court

              seeking sanctions against the Lender for Lender’s failure to register.

       6.     Lender’s counsel or representative shall have the authority (within the

              investor’s guidelines) to settle and will attend and continuously participate

              in all MMM conferences in this case.

       7.     Debtor’s attorney shall, within seven days after the filing of Debtor’s Notice

              of Selection of Mortgage Modification Mediator (or Notice of Clerk’s

              Designation of Mortgage Modification Mediator), or after confirming that the

              Lender is registered on the MMM Portal, whichever occurs later, remit to

              the MMM Portal the required non-refundable MMM Portal submission fee in

              the amount $40.00, and upload to the MMM Portal the following

              (collectively, the “Completed Package”):

              (a)     Debtor’s loan modification package (prepared using the Document

                      Preparation Software);

              (b)     a copy of this Order; and

              (c)     any additional lender-specific information identified by Lender on the

                      MMM Portal.

       8.     The Lender shall, within seven days after Debtor’s delivery of the

              “Completed Package”, acknowledge receipt of Debtor’s information and

              advise Debtor of any additional or missing information required for Lender

              to proceed with its review.

       9.     In the event the Lender requires additional or missing information to

              consider the Debtor’s requested mortgage modification options as specified

              in the Ex Parte Motion, the Lender shall so notify Debtor through the MMM

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              Portal within seven days of Debtor’s submission (“Notice”). The Debtor

              shall provide all additional documents through the MMM Portal within seven

              days of the Notice.

       10.    The Lender shall timely underwrite the loan modification request.

       11.    If the Lender transfers the loan, the Lender must provide a copy of the Order

              to the new holder of the loan (“Successor Lender”), and the Successor

              Lender will be obligated to comply with all terms of this Order.

       12.    PROCESS FOR SELECTION OF MEDIATOR:

              (a)     The parties shall have 14 days from the date of this Order to select

                      a mediator. If the parties agree on the selection of a mediator, the

                      Debtor shall file the MMM Local Form “Debtor’s Notice of Selection

                      of Mortgage Modification Mediator” (Check Box 1 and insert mediator

                      name and contact information), serve a copy of the notice on all

                      required parties, and file a Certificate of Service pursuant to Local

                      Rule 2002-1(F).

              (b)     If the Lender fails to communicate with the Debtor within the 14 day

                      period established for the mediator selection process, the Debtor

                      shall, within seven days, independently select a mediator and file the

                      “Debtor’s Notice of Selection of Mortgage Modification Mediator”

                      (Check Box 2 and insert mediator name and contact information),

                      serve a copy of the notice on all required parties, and file a Certificate

                      of Service pursuant to Local Rule 2002-1(F). In this instance, it shall

                      be deemed that the Lender has waived the right to challenge

                      Debtor’s selection of a mediator.

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              (c)     If the parties attempt to reach agreement on the selection of a

                      mediator, but fail to do so, the Debtor shall file the “Debtor’s Notice

                      of Selection of Mortgage Modification Mediator” (Check Box 3

                      indicating an impasse), serve a copy of the notice on all required

                      parties, and file a Certificate of Service pursuant to Local Rule 2002-

                      1(F). The clerk shall then randomly select a mediator from the clerk’s

                      Mediation Register pursuant to Local Rule 9019-2(B)(3), without the

                      necessity of a hearing. The clerk shall serve notice of the mediator

                      selection on the required parties using the MMM Local Form “Notice

                      of Clerk’s Designation of Mortgage Modification Mediator”. Local

                      Rule 9019-2(B) shall apply to any challenge to the clerk’s designation

                      of mediator.

        13.   Debtor’s attorney shall assign the mediator as the mediator in this case on

              the MMM Portal within seven days after designation.

        14.   The mediator shall:

              (a)     be governed by the standards of professional conduct set forth in the

                      Florida rules for certified and court-appointed mediators and shall

                      have judicial immunity in the same manner and to the same extent

                      as a judge;

              (b)     subject to paragraph 15 below, be compensated in the amount of

                      $600.00 for preparation for MMM, execution of required documents,

                      facilitation of document and information exchange between the




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                      parties, and participation in no more than two one-hour MMM

                      conferences.

              (c)     be compensated at the rate set by this Court’s Local Rule 9019-2(6)

                      for any MMM conferences that extend beyond the initial two one-

                      hour conferences.

       15.    The mediator’s fee shall be paid equally by the parties as follows:

              (a)           The Debtor shall pay a non-refundable fee in the amount of

                            $300.00 directly to the mediator within seven days designation

                            of the mediator; OR

                            The Court finds that the Debtor qualifies for a mediator pro

                            bono.    The mediator shall notify the Court and the Debtor

                            immediately by motion if the mediator is not willing to serve pro

                            bono and state in the motion to be excused from pro bono

                            mediation, the reasons why the mediator seeks to be excused.

              (b)     The Lender shall pay a non-refundable fee in the amount of $300.00

                      directly to the mediator within seven days after designation of the

                      mediator.

              (c)     The mediator’s fee for MMM conferences that extend beyond two,

                      one-hour conferences, shall be paid equally by the parties (unless

                      the Debtor is receiving pro bono mediation, in which case the Lender

                      shall pay its half) and is due and payable at the beginning of each

                      successive MMM conference in accordance with the program

                      procedures.



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       16.    The mediator shall log in to the MMM Portal within seven days after

              designation and use the MMM Portal to facilitate any additional exchange

              of information or documentation between Debtor and Lender in an effort to

              perfect the documents needed for Lender to complete its analysis of

              Debtor’s mortgage modification mitigation options.

       17.    If the mediator either fails to timely register or log in to the MMM Portal to

              begin to facilitate the MMM process, any party to the mediation may file a

              motion requesting that the mediator be removed from this case and, if

              applicable, be removed from the clerk’s Mediation Register.

       18.    MEDIATION CONFERENCE:

              (a)     The mediator shall schedule the initial MMM conference no later than

                      seven days after determining that the Lender has received and

                      reviewed all requested information. In the event the mediator cannot

                      determine that the Lender has received all the requested information,

                      the mediator shall schedule the initial MMM conference within 90

                      days of this Order. The initial MMM conference shall not exceed one

                      hour.   The mediator shall report the scheduling of all MMM

                      conferences on the MMM Portal.

              (b)     The Lender and Lender’s representative may participate in the MMM

                      conference by telephone.

              (c)     The Debtor and any co-obligors/co-borrowers or other third party

                      may participate in the MMM conference by telephone provided they

                      are physically present with Debtor’s attorney and present



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                      identification to Debtor’s attorney counsel during all MMM

                      conferences.

              (d)     Debtor shall provide a foreign language interpreter, if necessary, at

                      the Debtor’s own expense.

              (e)     All parties attending the MMM conference must be ready, willing and

                      able to sign a binding settlement agreement at the MMM conference

                      and have the ability to scan, send and receive documents by

                      facsimile, email or other electronic means at the time of the MMM

                      conference.

       19.    In the event the parties are unable to reach an agreement and require an

              additional MMM conference, the mediator shall schedule a final MMM

              conference no later than 30 days thereafter. The final MMM conference

              shall not exceed one hour.

       20.    In the event the parties reach a final resolution or, if no agreement has been

              reached, the mediator shall report the results of the MMM on the MMM

              Portal not later than seven days after the conclusion of the final MMM

              conference. The mediator shall also complete and file with the Court, either

              conventionally or via CM/ECF, the MMM Local Form “Final Report of

              Mortgage Modification Mediator”, within two business days following entry

              of the final report data on the MMM Portal.

       21.    If applicable, Debtor’s attorney shall file the MMM Local Form “Ex Parte

              Motion to Approve Mortgage Modification Mediation Agreement with

              Lender”, no later than 14 days following the filing of the Final Report and

              upload the MMM Local Form “Order Granting Motion to Approve Mortgage

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              Modification Mediation Agreement with Lender” to the Court’s E-Orders

              program. The parties shall also seek any necessary Court approval and

              formalize any required legal documents in a timely fashion thereafter.

       22.    The automatic stay is modified to the extent necessary to facilitate MMM

              pursuant to this Order.

       23.    [For chapter 7 debtors] Notwithstanding that the Debtor may be eligible for

              entry of a discharge before the MMM process is completed, the Court shall

              delay issuance of the discharge until either an agreement is reached or the

              parties reach impasse as reflected in the Local Form "Final Report of

              Mortgage Modification Mediator".

       24.    Any of the deadlines imposed by this Order may be extended by order of

              the Court.

       25.    If any parties or counsel fail to comply with the terms of this Order, the Court

              will consider a motion to vacate the Order and may also impose sanctions.

       26.    The Debtor’s attorney shall serve a copy of this Order on all parties to the

              mediation, immediately upon receipt. Service shall be by regular U.S. Mail,

              electronic service, or email, if the party’s email address is known.

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                                                   Respectfully Submitted,
                                                   Del Pino Law Firm
                                                   Attorney(s) for debtor
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Copies furnished to:
Clerk of Court



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